 

 

Case 5:17-cV-00187 Document 1 Filed in TXSD on 09/26/17 Page 1 of 5
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
LAREDO DlVISION

CELSO MARTINEZ, .]R.
Plaintiffs,

V. Civil Action No. 5:17-CV-00187

TRAVELERS LLOYDS ()F TEXAS

INSURANCE COMPANY AND
ANNA DAVIS

CO'JOO'>DO'JOOO\WJWD&O°EUJGO'JOODWD

Defendants
DEFENDANT TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY’S
NOTICE OF REMOVAL

Defendant TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY, (“Travelers” or
“Defendant”), files its Amended Notice of Rernov'ai of this action from the 49’1"" ludicial District
Court, Webb County, Texas to the United States District Court for the Southern District of Texas,
Laredo Division, the Court for the District and Division encompassing the place where the lawsuit is
currently pending 111 support of this renioval, Det`endant relies upon the Appendix Fiied in Support
of Defendant’ s Notice of Removal filed contemporaneoust herewith and shows the following

I.
INTRODUCTION

1. On August 30, 2017, Plaintiff Celso Martinez, Jr. filed his original petition in the 49TH
Judicial District Court, Webb County, Texas captioned Celso Murrmez, Jr_ v. vaelers Lloyds of
Texas fnsumnce Compcmy and/luna Davz‘s, Cause Number 2017CVH002022D1 (the “State Court

Action”).

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2. Citation for the State Court Action was issued on September 7, 2017 and served on

Defendant Travelers Lloyds of Texas Insurance Company via Certified Mail on September ll, 2017.

II.
BASIS FOR REM()VAL

3. This Court has original jurisdiction over this State Court Action, pursuant to 28 U.S.C.
§1332(a), because it is a civil action between citizens of different states where the matter in
controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

4. The Plaintiff failed to state the amount of damages soughtJ in violation of Texas Rule of
Civil Procedure 47(0). See Exhibit A~l . Plaintiff’ s homeowners insurance policy has building limits
of liability of 3134,000. Plaintiffs seek damages for breach of contract, violations of the Texas
lnsurance Code, breach of the duty of good faith and fair dealing, attorneys’ feesJ and exemplary
damagesl Accordingly, the amount in controversy in this matter meets and exceeds the federal
jurisdictional minimum of $75,000, exclusive of interest and costs

5. Plaintiff was at the time of the filing of this action, has been at all times since, and still is
an individual resident citizen of Texas. See Exhibit A~l. For diversity purposes, an individual is a
citizen of the state of his domicile, which is the place of his true, fixed, and permanent horne and
principal establishment, to which he has the intention of returning home whenever he is absent
therefrom. See Stine v. Moore, 213 F.2d 446, 448 (Sth Cir. 1954). Accordingly, Plaintiffis a citizen
of ”l`exas.

6. Defendant Travelers Lloyds of Texas lnsurance Conipany is a Lloyd’s plan insurance
association and is an unincorporated association F or purposes of diversity jurisdiction, the
citizenship of a Lloyd’s plan insurance association is determined by the citizenship of its

underwriters Royal lns. Co. ofAm. v Quz'n'n-L Cap.ircrl Corp., 3 F.Bd 877, 882-83 (Sth Cir. 1993): see

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also Sl‘al‘e Fc.¢rm Llr)yci's v. Peed, NO. CIV.A. 3500CV1696-BC, 2001 WL 513427 (N.D. TeX. i\/lay 9,
2001)(“ F or purposes of diversity jurisdiction, a Lloyds Plan insurer is considered an ‘unincorporated
association’ whose citizenship is determined solely by the citizenship of its underwriters.).

7. At the time of the filing of this action, and at all times since, including the date of removal,
’l`ravelers Lloyds of Texas insurance Company’ s underwriters are all citizens of Connecticut; none of
its underwriters are citizens of Texas. See Exhibit B. Accordingly, Travelers Lloyds of Texas
lnsurance Company is a citizen of Connecticut.

8. Defendant Anna Davis (“Davis”) was at the time of the filing of this action, has been at all
times since, and still is an individual resident citizen of the State of Connecticut. See Exhibit C.

9. Because the amount in controversy exceeds $75,000 and Plaintiffs are citizens of Texas
while no properly joined defendant is a citizen of Texas, this Court has original jurisdiction over the
present action pursuant to 28 USC §1332. Therefore, removal is proper.

10. Davis consents to this removal. See Exhibit D.

1 1. This action may be removed to this Court pursuant to 28 USC §144 l (a), which allows for
the removal of any civil action brought in the state court of which the District Courts of the United
States have original jurisdiction, by the defendant or the defendants, to the District Court of the
United States for the district and division embracing the place where such action is pending

12. This Amended Notice of Removal is filed within thirty (30) days after service (on
Septernber 8, 2017) by Defendants of the State Court Action. This Arnended Notice of Rernoval is
also filed within one year of the filing of Plaintifl" s Original Petition by which the State Court Action
was commenced This Notice, therefore, is timely filed pursuant to 28 USC §1446 (b).

III.
PROCEDURAL REQ UIREMENTS

 

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13. ln accordance with 28 USC section 1446 (D), Defendants will promptly give written
notice of this Amended Notice of Removal to Plaintiffs through counsel of record and previously
filed a copy of their Notice of Removal in the 244TH Judicial District Court, Eotor County, Texas.

14. Defendants reserve the right to amend or supplement this Notice of Removal.

15. Tlie following are included in the Appendix filed contemporaneously with this Notice of
Rernoval:

(a) an index of all documents that clearly identifies each document and indicates the date
the document was filed in the State Court Action;

(b) a copy of the civil cover sheet in the State Court Action;

(c) a copy of each document filed in the State Court Action, except discovery material,

arranged in chronological order according to the state court filing date; and

(d) a separately filed JS-44 Civil Cover Sheet.

For the above reasons, Defendants give notice of the removal of the State Court Action to this
Court and respectfully request that this action proceed before this Court as though it had originally
been instituted in this Court.

Dated: 359 September, 2017

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Respectfully submitted,

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ATTORNEY FOR DEFENDANT

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing document has been
forwarded to the following counsel of record in compliance with the Federal Rules of Civil

Procedure this

Thomas l\/l. Furlow

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it day of September, 2017:

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